       Case 1:21-cv-00796-RP Document 70 Filed 10/06/21 Page 1 of 3



              U N I T E D S TAT E S D I S T R I C T C O U RT
            FOR T HE WEST ERN DI ST RICT OF T EXAS
                          AU S T I N D I V I S I O N


 United States of America,

                       Plaintiff,
                                                   Case No. 1:21-cv-00796-RP
 v.

 The State of Texas,

                       Defendant.



                                NOTICE OF APPEAL
      PLEASE TAKE NOTICE that Intervenor-Defendants Erick Graham, Jeff Tuley, and

Mistie Sharp hereby appeal to the United States Court of Appeals for the Fifth Circuit from

the Order issued October 6, 2021 (ECF No. 68). This appeal is related to the pending appeal

in Whole Woman’s Health v. Jackson, No. 21-50792 (5th Cir.).




NOTICE OF APPEAL                                                                  Page 1 of 3
     Case 1:21-cv-00796-RP Document 70 Filed 10/06/21 Page 2 of 3



                                     Respectfully submitted.

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NOTICE OF APPEAL                                                         Page 2 of 3
       Case 1:21-cv-00796-RP Document 70 Filed 10/06/21 Page 3 of 3



                             CERTIFICATE OF SERVICE
    I certify that on October 6, 2021, I served this document through CM/ECF upon all

counsel of record in this case, and served this document via email to Intervenor Oscar Stilley

at oscarstilley@gmail.com.


                                              /s/ Heather Gebelin Hacker
                                              Heather Gebelin Hacker
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NOTICE OF APPEAL                                                                    Page 3 of 3
